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  The relief described hereinbelow is SO ORDERED.
      

       August 03, 2020.
  Signed
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                                                                Ronald B. King
                                                    Chief United States Bankruptcy Judge

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                                         Notice Pg 6 of 7
                                               United States Bankruptcy Court
                                                 Western District of Texas
Krisjenn Ranch, LLC, Krisjenn Ranch, LLC,
         Plaintiff                                                                                Adv. Proc. No. 20-05027-rbk
DMA Properties, Inc.,
         Defendant
                                                 CERTIFICATE OF NOTICE
District/off: 0542-5                  User: lunae                        Page 1 of 2                          Date Rcvd: Aug 04, 2020
                                      Form ID: pdfintp                   Total Noticed: 10


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Aug 06, 2020.
aty            +Christopher S. Johns,    JOHNS & COUNSEL PLLC,    14101 Highway 290 West,    Suite 400A,
                 Austin, TX 78737-9376
aty            +Jeffery Duke,   DUKE BANISTER MILLER & MILLER,     22310 Grand Corner Drive,    Suite 110,
                 Katy, TX 77494-7467
aty            +Michael Black,    BURNS & BLACK PLLC,    750 Rittiman Road,   San Antonio, TX 78209-5500
aty            +Timothy Cleveland,    CLEVELAND TERRAZAS PLLC,    4611 Bee Cave Road,    Suite 306B,
                 Austin, TX 78746-5284
3pd            +John Terrill,   12712 Arrowhead Lane,     Oklahoma City, OK 73120-8829
3pd            +Larry Wright,   410 Spyglass Road,     McQueeney, TX 78123-3418
               +Natalie F Wilson,    Langley & Banack,    745 E Mulberry Ave, Suite 700,
                 San Antonio, TX 78212-3172

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
ust            +E-mail/Text: ustpregion07.cc.ecf@usdoj.gov Aug 05 2020 01:43:53     US Trustee,
                 606 N Carancahua,   Corpus Christi, TX 78401-0680
ust             E-mail/Text: USTPRegion07.SN.ECF@usdoj.gov Aug 05 2020 01:43:46
                 United States Trustee - SA12,   US Trustee’s Office,   615 E Houston, Suite 533,    PO Box 1539,
                 San Antonio, TX 78295-1539
intp            E-mail/Text: USTPRegion07.SN.ECF@usdoj.gov Aug 05 2020 01:43:46     U.S. Trustees Office,
                 P. O. Box 1539,   San Antonio, TX 78295-1539
                                                                                            TOTAL: 3

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
ust*              U.S. Trustees Office,   P. O. Box 1539,    San Antonio, TX 78295-1539
3pd*             +John Terrill,   12712 Arrowhead Lane,    Oklahoma City, OK 73120-8829
3pd*             +Larry Wright,   410 Spyglass Road,    McQueeney, TX 78123-3418
                                                                                                                    TOTALS: 0, * 3, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Aug 06, 2020                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on August 4, 2020 at the address(es) listed below:
              Austin Hammer Krist   on behalf of Interested Party Frank Daniel Moore
               akrist@clevelandterrazas.com
              Austin Hammer Krist   on behalf of Third Pty Plaintif    DMA Properties, Inc.
               akrist@clevelandterrazas.com
              Austin Hammer Krist   on behalf of Defendant   DMA Properties, Inc. akrist@clevelandterrazas.com
              Austin Hammer Krist   on behalf of Third Pty Plaintif Frank Daniel Moore
               akrist@clevelandterrazas.com
              Charles John Muller, IV   on behalf of Plaintiff   Krisjenn Ranch, LLC, Krisjenn Ranch, LLC,
               Series Uvalde Ranch, Krisjenn Ranch, LLC, Series Pipeline Row john@muller-smeberg.com,
               mary.ables-miller@chamberlainlaw.com
              Charles John Muller, IV   on behalf of Counter Defendant    Krisjenn Ranch, LLC, Krisjenn Ranch,
               LLC, Series Uvalde Ranch, Krisjenn Ranch, LLC, Series Pipeline Row
               john.muller@chamberlainlaw.com, mary.ables-miller@chamberlainlaw.com
              Ronald J. Smeberg   on behalf of Plaintiff   Krisjenn Ranch, LLC, Krisjenn Ranch, LLC, Series
               Uvalde Ranch, Krisjenn Ranch, LLC, Series Pipeline Row ron@smeberg.com, ronaldsmeberg@yahoo.com
              Ronald J. Smeberg   on behalf of 3rd Pty Defendant    Black Duck Properties, LLC ron@smeberg.com,
               ronaldsmeberg@yahoo.com
              Ronald J. Smeberg   on behalf of Counter Defendant    Krisjenn Ranch, LLC, Krisjenn Ranch, LLC,
               Series Uvalde Ranch, Krisjenn Ranch, LLC, Series Pipeline Row ron@smeberg.com,
               ronaldsmeberg@yahoo.com
       20-05027-rbk Doc#35 Filed 08/06/20 Entered 08/06/20 23:27:11 Imaged Certificate of
                                       Notice Pg 7 of 7


District/off: 0542-5         User: lunae                 Page 2 of 2                   Date Rcvd: Aug 04, 2020
                             Form ID: pdfintp            Total Noticed: 10


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
                                                                                            TOTAL: 9
